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 6
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,            )       2:12-CR-00025-MCE
10                                        )
                      Plaintiff,          )       ORDER TO DISBURSE FUNDS
11                                        )       PURSUANT TO SENTENCING
          v.                              )
12                                        )
   STANCIL ENTERPRISES, INC.,             )
13 et al,                                 )
                                          )
14                    Defendants.         )
                                          )
15
16        On or about March 8, 2012, Stancil Enterprises, Inc. was
17 sentenced by this Court for Conspiracy to Aid and Abet Evasion of
18 Reporting Requirements in violation of 18 U.S.C. § 371, 31 U.S.C.
19 § 5313(a), and 31 U.S.C. § 5324(a).
20        As part of the sentence, the Court has imposed a criminal
21 fine in the amount of $500,000. On February 27, 2012, Stancil
22 Enterprises, Inc., for purposes of paying the fine and forfeiture
23 to be imposed at sentencing, deposited funds sufficient to cover
24 this fine with the registry of the Court (the “Deposited Funds”).
25 The Court has previously ordered that $423,415.85 of the Deposited
26 Funds be disbursed to pay the defendant’s forfeiture obligations.
27 ///
28 ///

                                              1         Order re: Disbursement of Funds
                                                                               for Fine
       Case 2:12-cr-00025-MCE Document 31 Filed 03/12/12 Page 2 of 2


 1 Out of the remaining Deposited Funds, the Court now orders that
 2 the Clerk of the Court credit the amount of         $500,000 to the
 3 applicable account for payment of the fine, only. The $400
 4 assessment will be paid separately by the defendant.
 5       If there are any remaining Deposited Funds after payment of
 6 the forfeiture, as previously ordered, and the fine, as herein
 7 ordered, they shall be disbursed to Stancil Enterprises, Inc. c/o
 8 its attorney Donald H. Heller, A Law Corporation, 701 University
 9 Avenue, Suite 100, Sacramento, CA 95825.
10       IT IS SO ORDERED.
11
     Dated: March 12, 2012
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13                                     _____________________________
                                       MORRISON C. ENGLAND, JR.
14
                                       UNITED STATES DISTRICT JUDGE
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                                         2         Order re: Disbursement of Funds
                                                                          for Fine
